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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


  RUTH MCGARRY, on behalf of herself and all
  others similarly situated,                 Case No.: _____________

            Plaintiff,
                                                       CLASS ACTION COMPLAINT
      v.
                                                       DEMAND FOR JURY TRIAL
 DELAWARE LIFE INSURANCE COMPANY
 and PROGRESS SOFTWARE
 CORPORATION,

            Defendants.


                                 CLASS ACTION COMPLAINT

       Plaintiff, Ruth McGarry ("Plaintiff"), individually and on behalf of all similarly situated

persons, alleges the following against Defendant Delaware Life Insurance Company (“Delaware

Life”) and Defendant Progress Software Corporation (“PSC”) (collectively, “Defendants”) based

upon personal knowledge with respect to herself and on information and belief derived from, among

other things, investigation by her counsel and review of public documents, as to all other matters:

                                        I. INTRODUCTION

       1.         Plaintiff brings this class action against Defendants for their failure to properly

secure and safeguard Plaintiff’s and other similarly situated Delaware Life customers’ sensitive

information, including their full names, dates of birth, Social Security numbers, policy or contract

numbers, and other sensitive information ("personally identifiable information" or “PII”).

       2.         Defendant Delaware Life is a financial company that provides annuity products

and other retirement services.

       3.         Defendant PSC advertises itself as an “experienced, trusted provider of products



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designed with you, our customers, in mind. With Progress, you can build what you need, deploy

where and how you want, empower your customers, then manage it all safely and securely.” 1

       4.       Upon information and belief, former and current Delaware Life customers are

required to entrust Defendants with sensitive, non-public PII, without which Defendants could not

perform their regular business activities, in order to obtain annuity products and/or other services

from Delaware Life. Defendants retain this information for at least many years and even after the

consumer relationship has ended.

       5.       By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiff and

Class Members, Defendants assumed legal and equitable duties to those individuals to protect and

safeguard that information from unauthorized access and intrusion.

       6.       On or about May 31, 2023, Delaware Life learned that Pension Benefit

Information, LLC’s network, which PSC provided software services to and Delaware Life relied

on for the sending and receiving of sensitive information, had been penetrated by a cyberattack. 2

In response, Pension Benefit Information, LLC (“PBI”) “promptly launched an investigation into

the nature and scope of the MOVEit vulnerability’s impact on [Delaware Life’s] systems." 3 As a

result of the investigation, PBI concluded₋₋on undisclosed date₋₋that "the third party accessed one

of [Delaware Life’s] MOVEit Transfer servers on May 29, 2023 and May 30, 2023 and

downloaded data.”4

       7.       According to the untitled letter sent by PBI, on behalf of Defendants, to Plaintiff




1
  https://www.progress.com/company (last visited July 19, 2023).
2
  The "Notice Letter". A sample copy is available at https://attorneygeneral.delaware.gov/wp-
content/uploads/sites/50/2023/09/Delaware-Life-Insurance-Company-PBI-letter-attached.pdf
(last accessed Nov. 6, 2023).
3
  Id.
4
  Id.


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and other victims of the Data Breach (the “Notice Letter”), the compromised PII included

individuals’ full names, dates of birth, Social Security numbers, and policy or numbers. 5

          8.    Defendants failed to adequately protect Plaintiff’s and Class Members PII––and

failed to even encrypt or redact this highly sensitive information. This unencrypted, unredacted PII

was compromised due to Defendants’ negligent and/or careless acts and omissions and their utter

failure to protect consumers’ sensitive data. Hackers targeted and obtained Plaintiff’s and Class

Members’ PII because of its value in exploiting and stealing the identities of Plaintiff and Class

Members. The present and continuing risk to victims of the Data Breach will remain for their

respective lifetimes.

          9.    Plaintiff brings this action on behalf of all persons whose PII was compromised

as a result of Defendants’ failure to: (i) adequately protect the PII of Plaintiff and Class Members;

(ii) warn Plaintiff and Class Members of Defendants’ inadequate information security practices;

and (iii) effectively secure hardware containing protected PII using reasonable and effective

security procedures free of vulnerabilities and incidents. Defendants’ conduct amounts at least to

negligence and violates federal and state statutes.

          10.   Defendants disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to implement and maintain adequate and reasonable

measures and ensure those measures were followed by their IT vendors to ensure that the PII of

Plaintiff and Class Members was safeguarded, failing to take available steps to prevent an

unauthorized disclosure of data, and failing to follow applicable, required, and appropriate

protocols, policies, and procedures regarding the encryption of data, even for internal use. As a

result, the PII of Plaintiff and Class Members was compromised through disclosure to an unknown



5
    Id.


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and unauthorized third party. Plaintiff and Class Members have a continuing interest in ensuring

that their information is and remains safe, and they should be entitled to injunctive and other

equitable relief.

        11.         Plaintiff and Class Members have suffered injury as a result of Defendants’

conduct. These injuries include: (i) invasion of privacy; (ii) theft of their PII; (iii) lost or diminished

value of PII; (iv) lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (vii) Plaintiff’s

PII being disseminated on the dark web; (viii) statutory damages; (ix) nominal damages; and (x)

the continued and certainly increased risk to their PII, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII.

        12.         Plaintiff seeks to remedy these harms and prevent any future data compromise on

behalf of herself and all similarly situated persons whose personal data was compromised and

stolen as a result of the Data Breach and who remain at risk due to Defendants’ inadequate data

security practices.

                                             II. PARTIES

        13.         Plaintiff, Ruth McGarry, is, and at all times mentioned herein was, an individual

and citizen of Westchester, Illinois.

        14.         Defendant, Delaware Life Insurance Company, is a corporation incorporated

under the state laws of Delaware with its principal place of business located in Waltham,

Massachusetts.




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         15.      Defendant, Progress Software Corporation, is a Delaware corporation and

maintains its headquarters and principal place of business at 15 Wayside Road, 4th Floor,

Burlington, Massachusetts 01803.

                                 III. JURISDICTION AND VENUE

         16.     The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive

of interest and costs. The number of class members is over 100, many of whom reside outside the

state of Massachusetts and have different citizenship from Defendants, including Plaintiff. Thus,

minimal diversity exists under 28 U.S.C. §1332(d)(2)(A)

         17.     This Court has jurisdiction over Defendants because Defendants operate in this

District.

         18.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because

Defendants’ principal place of businesses are located in this District, a substantial part of the

events giving rise to this action occurred in this District, and Defendants have harmed Class

Members residing in this District.

                                 IV. FACTUAL ALLEGATIONS

         A.       Defendants’ Businesses

         19.      Defendant Delaware Life is a financial company that provides annuity products

and other retirement services.

         20.      Defendant PSC advertises itself as an “experienced, trusted provider of products

designed with you, our customers, in mind. With Progress, you can build what you need, deploy

where and how you want, empower your customers, then manage it all safely and securely.” 6



6
    https://www.progress.com/company (last visited July 19, 2023).


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         21.      Plaintiff and Class Members are current and former Delaware Life customers.

         22.      As a condition of receiving annuity products and/or other services at Delaware

Life, Delaware Life requires that its customers, including Plaintiff and Class Members, entrust it

with highly sensitive personal information.

         23.      The information held by Defendants in their computer systems or those of their

vendors at the time of the Data Breach included the unencrypted PII of Plaintiff and Class

Members.

         24.      Upon information and belief, Delaware Life made promises and representations

to customers, including Plaintiff and Class Members, that the PII collected from them as a

condition of obtaining annuity products and/or other services at Delaware Life would be kept safe,

confidential, that the privacy of that information would be maintained, and that Defendants would

delete any sensitive information after they were no longer required to maintain it.

         25.      Indeed, Delaware Life’s Privacy Policy provides that: “[w]e employ technologies

intended to safeguard the transmission of your personal information through our Web Sites. We

use Secure Socket Layer (SSL) to help keep your information confidential while you conduct

business on our secure websites. SSL helps ensure the integrity and confidentiality of your online

transactions. It helps create a uniquely encrypted transmission over the Internet between your web

browser and Delaware Life. We also use a timeout feature on select areas of our Web Sites.” 7

         26.      Plaintiff and Class Members provided their PII to Delaware Life with the

reasonable expectation and on the mutual understanding that Defendants would comply with their

obligations to keep such information confidential and secure from unauthorized access.

         27.      Plaintiff and Class Members have taken reasonable steps to maintain the



7
    https://www.delawarelife.com/static/html/privacy.html (last accessed Nov. 6, 2023).


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confidentiality of their PII. Plaintiff and Class Members relied on the sophistication of Defendants

to keep their PII confidential and securely maintained, to use this information for necessary

purposes only, and to make only authorized disclosures of this information. Plaintiff and Class

Members value the confidentiality of their PII and demand security to safeguard their PII.

        28.     Defendants had duties to adopt reasonable measures to protect the PII of Plaintiff

and Class Members from involuntary disclosure to third parties and to audit, monitor, and verify

the integrity of their IT vendors and affiliates. Defendants have a legal duty to keep consumer’s

PII safe and confidential.

        29.     Defendants had obligations created by FTC Act, Gramm-Leach-Bliley Act,

contract, industry standards, and representations made to Plaintiff and Class Members, to keep

their PII confidential and to protect it from unauthorized access and disclosure.

        30.     Defendants derived a substantial economic benefit from collecting Plaintiff’s and

Class Members’ PII. Without the required submission of PII, Defendants could not perform the

services they provide.

        31.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ PII, Defendants assumed legal and equitable duties and knew or should have known

that they were responsible for protecting Plaintiff’s and Class Members’ PII from disclosure.

        B.      The Data Breach

        32.     On or about September 6, 2023, PBI, on behalf of Defendants, began sending

Plaintiff and other Data Breach victims an untitled letter (the "Notice Letter"), informing them

that:

        What Happened? On or around May 31, 2023, Progress Software, the provider of
        MOVEit Transfer software disclosed a vulnerability in their software that had been
        exploited by an unauthorized third party. PBI utilized MOVEit in the regular course of our
        business operations to securely transfer files. PBI promptly launched an investigation into



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          the nature and scope of the MOVEit vulnerability’s impact on our systems. Through the
          investigation, we learned that the third party accessed one of our MOVEit Transfer servers
          on May 29, 2023 and May 30, 2023 and downloaded data. We then conducted a manual
          review of our records to confirm the identities of individuals potentially affected by this
          event and their contact information to provide notifications. We recently completed this
          review.

          What Information Was Involved? Our investigation determined that the following types
          of information related to you were present in the server at the time of the event: name, date
          of birth, Social Security number, and policy or contract number. 8

          33.        Omitted from the Notice Letter were the dates of PBI’s investigation, the dates of

Delaware Life’s review of impacted data, any explanation as to why Defendants failed to notify

Plaintiff for Class Members for more than three months after learning of the Data Breach, the

details of the root cause of the Data Breach, the vulnerabilities exploited, and the remedial

measures undertaken to ensure such a breach does not occur again. To date, these critical facts

have not been explained or clarified to Plaintiff and Class Members, who retain a vested interest

in ensuring that their PII remains protected.

          34.        This “disclosure” amounts to no real disclosure at all, as it fails to inform, with

any degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts. Without

these details, Plaintiff’s and Class Members’ ability to mitigate the harms resulting from the Data

Breach is severely diminished.

          35.        Defendants did not use reasonable security procedures and practices appropriate

to the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed. Moreover, Delaware Life failed to exercise due diligence in selecting its IT vendors or

deciding with whom it would share sensitive PII.




8
    Notice Letter.


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       36.      The attacker accessed and acquired files Defendants shared with a third party

containing unencrypted PII of Plaintiff and Class Members, including their Social Security

numbers and other sensitive information. Plaintiff’s and Class Members’ PII was accessed and

stolen in the Data Breach.

       37.      Plaintiff further believes that her PII and that of Class Members was or will be

subsequently sold on the dark web following the Data Breach, as that is the modus operandi of

cybercriminals that commit cyber-attacks of this type.

       C.       Defendants Acquire, Collect, And Store Consumers’ PII

       38.      As a condition to obtain annuity products and/or other services from Delaware

Life, Plaintiff and Class Members were required to give their sensitive and confidential PII to

Defendants.

       39.      Defendants retain and store this information and derive a substantial economic

benefit from the PII that they collect. But for the collection of Plaintiff’s and Class Members’ PII,

Defendants would be unable to perform their services.

       40.      By obtaining, collecting, and storing the PII of Plaintiff and Class Members,

Defendants assumed legal and equitable duties and knew or should have known that they were

responsible for protecting the PII from disclosure.

       41.      Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and relied on Defendants to keep their PII confidential and maintained

securely, to use this information for business purposes only, and to make only authorized

disclosures of this information.

       42.      Defendants could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the PII of Plaintiff and Class Members or by




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exercising due diligence in selecting their IT vendors and properly auditing those vendor’s security

practices.

         43.      Upon information and belief, Defendants made promises to Plaintiff and Class

Members to maintain and protect their PII, demonstrating an understanding of the importance of

securing PII.

         44.      Indeed, Delaware Life’s Privacy Policy provides that: “[w]e employ technologies

intended to safeguard the transmission of your personal information through our Web Sites. We

use Secure Socket Layer (SSL) to help keep your information confidential while you conduct

business on our secure websites. SSL helps ensure the integrity and confidentiality of your online

transactions. It helps create a uniquely encrypted transmission over the Internet between your web

browser and Delaware Life. We also use a timeout feature on select areas of our Web Sites.” 9

         45.      Defendants’ negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to protecting and securing sensitive data.

         E.      Defendants Knew or Should Have Known of the Risk Because Insurance
                 Companies and Software Companies In Possession Of PII Are Particularly
                 Suspectable To Cyber Attacks

         46.      Data thieves regularly target companies like Defendants’ due to the highly

sensitive information that they custody. Defendants knew and understood that unprotected PII is

valuable and highly sought after by criminal parties who seek to illegally monetize that PII through

unauthorized access.

         47.      Defendants’ data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches targeting insurance companies and

software companies that collect and store PII, like Defendants, preceding the date of the breach.



9
    https://www.delawarelife.com/static/html/privacy.html (last accessed Nov. 6, 2023).


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       48.      In the third quarter of the 2023 fiscal year alone, 7333 organizations experienced

data breaches, resulting in 66,658,764 individuals’ personal information being compromised. 10

       49.      In light of recent high profile data breaches at other industry leading companies,

including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June

2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

records, May 2020), Defendants knew or should have known that the PII that they collected and

maintained would be targeted by cybercriminals.

       50.      Indeed, cyber-attacks, such as the one experienced by Defendants, have become

so notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued

a warning to potential targets so they are aware of, and prepared for, a potential attack. As one

report explained, smaller entities that store PII are “attractive to ransomware criminals…because

they often have lesser IT defenses and a high incentive to regain access to their data quickly.” 11

       51.      As custodians of PII, Defendants knew, or should have known, the importance of

safeguarding the PII entrusted to it by Plaintiff and Class members, and of the foreseeable

consequences if their data security systems were breached, including the significant costs imposed

on Plaintiff and Class Members as a result of a breach.

       52.      Despite the prevalence of public announcements of data breach and data security

compromises, Defendants failed to take appropriate steps to protect the PII of Plaintiff and Class




10
    See https://www.idtheftcenter.org/publication/q3-data-breach-2023-analysis/ (last accessed
Oct. 11, 2023).
11
   https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-
targeted-ransomware?nl_pk=3ed44a08-fcc2-4b6c-89f0-
aa0155a8bb51&utm_source=newsletter&utm_medium=email&utm_campaign=consumerprotect
ion (last accessed Oct. 17, 2022).


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Members from being compromised.

       53.      At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and of the foreseeable

consequences that would occur if Defendants’ data security systems were breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

       54.      Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on Defendants’ servers, amounting to, upon information and belief, tens

of thousands of individuals’ detailed PII, and, thus, the significant number of individuals who

would be harmed by the exposure of the unencrypted data.

       55.      Additionally, as companies became more dependent on computer systems to run

their business,12 e.g., working remotely as a result of the Covid-19 pandemic, and the Internet of

Things (“IoT”), the danger posed by cybercriminals is magnified, thereby highlighting the need

for adequate administrative, physical, and technical safeguards. 13

       56.      In the Notice Letter, on behalf of Delaware Life, PBI offers to cover 24 months of

identity monitoring for Plaintiff and Class Members. This is wholly inadequate to compensate

Plaintiff and Class Members as it fails to provide for the fact victims of data breaches and other

unauthorized disclosures commonly face multiple years of ongoing identity theft, financial fraud,

and it entirely fails to provide sufficient compensation for the unauthorized release and disclosure

of Plaintiff and Class Members’ PII. Moreover, once this service expires, Plaintiff and Class




12
   https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-risk-for-
financial-stability-20220512.html
13
    https://www.picussecurity.com/key-threats-and-cyber-risks-facing-financial-services-and-
banking-firms-in-2022


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Members will be forced to pay out of pocket for necessary identity monitoring services.

         57.      PBI’s offer of credit and identity monitoring establishes that Plaintiff’s and Class

Members’ sensitive PII was in fact affected, accessed, compromised, and exfiltrated from

Defendants’ computer systems.

         58.      The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendants’ failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

         59.      The ramifications of Defendants’ failure to keep secure the PII of Plaintiff and

Class Members are long lasting and severe. Once PII is stolen––particularly Social Security

numbers––fraudulent use of that information and damage to victims may continue for years.

         60.      As an insurance company and software company in possession of customers’ PII,

Defendants knew, or should have known, the importance of safeguarding the PII entrusted to them

by Plaintiff and Class Members and of the foreseeable consequences if their data security systems,

or those on which it transferred PII, were breached. This includes the significant costs imposed on

Plaintiff and Class Members as a result of a breach. Nevertheless, Defendants failed to take

adequate cybersecurity measures to prevent the Data Breach.

         F.       Value Of Personally Identifiable Information

         61.      The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.” 14

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s



14
     17 C.F.R. § 248.201 (2013).


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license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 15

         62.     The PII of individuals remains of high value to criminals, as evidenced by the

prices they will pay through the dark web. Numerous sources cite dark web pricing for stolen

identity credentials.16

         63.     For example, PII can be sold at a price ranging from $40 to $200. 17 Criminals can

also purchase access to entire company data breaches from $900 to $4,500. 18

         64.     Social Security numbers are among the worst kind of PII to have stolen because

they may be put to a variety of fraudulent uses and are difficult for an individual to change. The

Social Security Administration stresses that the loss of an individual’s Social Security number, as

experienced by Plaintiff and some Class Members, can lead to identity theft and extensive financial

fraud:

         A dishonest person who has your Social Security number can use it to get other personal
         information about you. Identity thieves can use your number and your good credit to apply
         for more credit in your name. Then, they use the credit cards and don’t pay the bills, it
         damages your credit. You may not find out that someone is using your number until you’re
         turned down for credit, or you begin to get calls from unknown creditors demanding
         payment for items you never bought. Someone illegally using your Social Security number
         and assuming your identity can cause a lot of problems.19

         65.     What’s more, it is no easy task to change or cancel a stolen Social Security



15
   Id.
16
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
web-how-much-it-costs/ (last visited Oct. 17, 2022).
17
   Here’s How Much Your PII Is Selling for on the Dark Web, Experian, Dec. 6, 2017, available
at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-
is-selling-for-on-the-dark-web/ (last visited Oct. 17, 2022).
18
   In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/ (last visited Oct. 217, 2022).
19
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Oct. 17, 2022).


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number. An individual cannot obtain a new Social Security number without significant paperwork

and evidence of actual misuse. In other words, preventive action to defend against the possibility

of misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

       66.      Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “[t]he credit bureaus and banks are able to link

the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.”

       67.      Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change—names, dates of birth, and Social Security numbers.

       68.      This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information . . . [is] worth more than 10x on the black market.” 20

       69.      Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

       70.      The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, and also




20
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last visited Oct. 17, 2022).


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between when PII is stolen and when it is used. According to the U.S. Government Accountability

Office (“GAO”), which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for up to
       a year or more before being used to commit identity theft. Further, once stolen data have
       been sold or posted on the Web, fraudulent use of that information may continue for years.
       As a result, studies that attempt to measure the harm resulting from data breaches cannot
       necessarily rule out all future harm.21

       G.       Defendants Failed to Comply with FTC Guidelines

       71.      The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision

making. Indeed, the FTC has concluded that a company’s failure to maintain reasonable and

appropriate data security for consumers’ sensitive personal information is an “unfair practice” in

violation of Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See, e.g.,

FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

       72.      In October 2016, the FTC updated its publication, Protecting PII: A Guide for

Business, which established cybersecurity guidelines for businesses. The guidelines note that

businesses should protect the personal customer information that they keep, properly dispose of

personal information that is no longer needed, encrypt information stored on computer networks,

understand their network’s vulnerabilities, and implement policies to correct any security

problems. The guidelines also recommend that businesses use an intrusion detection system to

expose a breach as soon as it occurs, monitor all incoming traffic for activity indicating someone

is attempting to hack into the system, watch for large amounts of data being transmitted from the



21
   Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last visited Oct. 17, 2022).



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system, and have a response plan ready in the event of a breach.

       73.      The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction, limit access to sensitive data, require complex passwords

to be used on networks, use industry-tested methods for security, monitor the network for

suspicious activity, and verify that third-party service providers have implemented reasonable

security measures.

       74.      The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data by treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by the FTCA. Orders resulting from these actions further clarify

the measures businesses must take to meet their data security obligations.

       75.      These FTC enforcement actions include actions against insurance companies and

software companies, like Defendants.

       76.      As evidenced by the Data Breach, Defendants failed to properly implement basic

data security practices and failed to audit, monitor, or ensure the integrity of their vendor’s data

security practices. Defendants’ failure to employ reasonable and appropriate measures to protect

against unauthorized access to Plaintiff’s and Class Members’ PII constitutes an unfair act or

practice prohibited by Section 5 of the FTCA.

       77.      Defendants were at all times fully aware of their obligations to protect the PII of

the consumers in their networks yet failed to comply with such obligations. Defendants were also

aware of the significant repercussions that would result from their failure to do so.

       H.       Delaware Life Failed to Comply with the Gramm-Leach-Bliley Act

       78.      Delaware Life is a financial institution, as that term is defined by Section




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509(3)(A) of the Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. § 6809(3)(A), and thus is

subject to the GLBA.

        79.     The GLBA defines a financial institution as “any institution the business of

which is engaging in financial activities as described in Section 1843(k) of Title 12 [The Bank

Holding Company Act of 1956].” 15 U.S.C. § 6809(3)(A).

        80.     Delaware Life collects nonpublic personal information, as defined by 15 U.S.C.

§ 6809(4)(A), 16 C.F.R. § 313.3(n) and 12 C.F.R. § 1016.3(p)(1). Accordingly, during the

relevant time period Delaware Life was subject to the requirements of the GLBA, 15 U.S.C. §§

6801.1, et seq., and is subject to numerous rules and regulations promulgated on the GLBA

statutes.

        81.     The GLBA Privacy Rule became effective on July 1, 2001. See 16 C.F.R. Part

313. Since the enactment of the Dodd-Frank Act on July 21, 2010, the CFPB became responsible

for implementing the Privacy Rule. In December 2011, the CFPB restated the implementing

regulations in an interim final rule that established the Privacy of Consumer Financial

Information, Regulation P, 12 C.F.R. § 1016 (“Regulation P”), with the final version becoming

effective on October 28, 2014.

        82.     Accordingly, Delaware Life’s conduct is governed by the Privacy Rule prior to

December 30, 2011 and by Regulation P after that date.

        83.     Both the Privacy Rule and Regulation P require financial institutions to provide

customers with an initial and annual privacy notice. These privacy notices must be “clear and

conspicuous.” 16 C.F.R. §§ 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5. “Clear and

conspicuous means that a notice is reasonably understandable and designed to call attention to

the nature and significance of the information in the notice.” 16 C.F.R. § 313.3(b)(1); 12 C.F.R.




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§ 1016.3(b)(1). These privacy notices must “accurately reflect[] [the financial institution’s]

privacy policies and practices.” 16 C.F.R. § 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5.

They must include specified elements, including the categories of nonpublic personal information

the financial institution collects and discloses, the categories of third parties to whom the financial

institution discloses the information, and the financial institution’s security and confidentiality

policies and practices for nonpublic personal information. 16 C.F.R. § 313.6; 12 C.F.R. § 1016.6.

These privacy notices must be provided “so that each consumer can reasonably be expected to

receive actual notice.” 16 C.F.R. § 313.9; 12 C.F.R. § 1016.9. As alleged herein, Delaware Life

violated the Privacy Rule and Regulation P.

        84.      Upon information and belief, Delaware Life failed to provide annual privacy

notices to customers after the customer relationship ended, despite retaining these customers’ PII

and storing that PII on Delaware Life’s network systems.

        85.      Delaware Life failed to adequately inform their customers that they were storing

and/or sharing, or would store and/or share, the customers’ PII on an insecure platform, accessible

to unauthorized parties from the internet, and would do so after the customer relationship ended.

        86.      The Safeguards Rule, which implements Section 501(b) of the GLBA, 15 U.S.C.

§ 6801(b), requires financial institutions to protect the security, confidentiality, and integrity of

customer information by developing a comprehensive written information security program that

contains reasonable administrative, technical, and physical safeguards, including: (1) designating

one or more employees to coordinate the information security program; (2) identifying

reasonably foreseeable internal and external risks to the security, confidentiality, and integrity of

customer information, and assessing the sufficiency of any safeguards in place to control those

risks; (3) designing and implementing information safeguards to control the risks identified




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through risk assessment, and regularly testing or otherwise monitoring the effectiveness of the

safeguards’ key controls, systems, and procedures; (4) overseeing service providers and requiring

them by contract to protect the security and confidentiality of customer information; and (5)

evaluating and adjusting the information security program in light of the results of testing and

monitoring, changes to the business operation, and other relevant circumstances. 16 C.F.R. §§

314.3 and 314.4.

       87.      As alleged herein, Delaware Life violated the Safeguard Rule.

       88.      Delaware Life failed to assess reasonably foreseeable risks to the security,

confidentiality, and integrity of customer information and failed to monitor the systems of its IT

partners or verify the integrity of those systems.

       89.      Delaware Life violated the GLBA and its own policies and procedures by sharing

the PII of Plaintiff and Class Members with a non-affiliated third party without providing Plaintiff

and Class Members (a) an opt-out notice and (b) a reasonable opportunity to opt out of such

disclosure.

       I.       Defendants Failed to Comply with Industry Standards

       90.      As noted above, experts studying cybersecurity routinely identify insurance

companies and software companies as being particularly vulnerable to cyberattacks because of the

value of the PII which they collect and maintain.

       91.      Some industry best practices that should be implemented by insurance companies

and software companies dealing with sensitive PII, like Defendants, include but are not limited to:

educating all employees, strong password requirements, multilayer security including firewalls,

anti-virus and anti-malware software, encryption, multi-factor authentication, backing up data, and

limiting which employees can access sensitive data. As evidenced by the Data Breach, Defendants




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failed to follow some or all of these industry best practices.

       92.       Other best cybersecurity practices that are Delaware Life in the insurance and

software industries include: installing appropriate malware detection software; monitoring and

limiting network ports; protecting web browsers and email management systems; setting up

network systems such as firewalls, switches, and routers; monitoring and protecting physical

security systems; and training staff regarding these points. As evidenced by the Data Breach,

Defendants failed to follow these cybersecurity best practices.

       93.       Defendants failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       94.       Defendants failed to comply with these accepted standards in the insurance and

software industries, thereby permitting the Data Breach to occur.

       J.        Defendants Breached Their Duties to Safeguard Customers' PII

       95.       In addition to their obligations under federal and state laws, Defendants owed

duties to Plaintiff and Class Members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the PII in their possession from being compromised, lost,

stolen, accessed, and misused by unauthorized persons. Defendants owed duties to Plaintiff and

Class Members to provide reasonable security, including consistency with industry standards and

requirements, and to ensure that their computer systems, networks, and protocols adequately

protected the PII of Class Members




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       96.        Defendants breached their obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard their

computer systems and data and failed to audit, monitor, or ensure the integrity of their vendor’s

data security practices. Defendants’ unlawful conduct includes, but is not limited to, the following

acts and/or omissions:

             a.   Failing to maintain an adequate data security system that would reduce the risk of

                  data breaches and cyberattacks;

             b.   Failing to adequately protect customers’ PII;

             c.   Failing to properly monitor their own data security systems for existing intrusions;

             d.   Failing to audit, monitor, or ensure the integrity of their vendor’s data security

                  practices;

             e.   Failing to sufficiently train their employees and vendors regarding the proper

                  handling of customers’ PII;

             f.   Failing to fully comply with FTC guidelines for cybersecurity in violation of the

                  FTCA;

             g.   Failing to adhere to the Gramm-Leach-Bliley Act and industry standards for

                  cybersecurity as discussed above; and,

             h.   Otherwise breaching their duties and obligations to protect Plaintiff’s and Class

                  Members’ PII.

       97.        Defendants negligently and unlawfully failed to safeguard Plaintiff’s and Class

Members’ PII by allowing cyberthieves to access their computer networks and systems which

contained unsecured and unencrypted PII.

       98.        Had Defendants remedied the deficiencies in their information storage and




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security systems or those of their vendors and affiliates, followed industry guidelines, and adopted

security measures recommended by experts in the field, they could have prevented intrusion into

their information storage and security systems and, ultimately, the theft of Plaintiff’s and Class

Members’ confidential PII.

        K.       Common Injuries & Damages

        99.      As a result of Defendants’ ineffective and inadequate data security practices, the

Data Breach, and the foreseeable consequences of PII ending up in the possession of criminals,

the risk of identity theft to the Plaintiff and Class Members has materialized and is imminent, and

Plaintiff and Class Members have all sustained actual injuries and damages, including: (i) invasion

of privacy; (ii) theft of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss

of benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix)

the continued and certainly increased risk to their PII, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII.

        L.       The Data Breach Increases Victims' Risk Of Identity Theft

        100.     Plaintiff and Class Members are at a heightened risk of identity theft for years to

come.

        101.     The unencrypted PII of Plaintiff and Class Members will end up for sale on the

dark web because that is the modus operandi of hackers. In addition, unencrypted PII may fall into

the hands of companies that will use the detailed PII for targeted marketing without the approval




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of Plaintiff and Class Members. Unauthorized individuals can easily access the PII of Plaintiff and

Class Members.

        102.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal PII to monetize the information. Criminals monetize the

data by selling the stolen information on the black market to other criminals who then utilize the

information to commit a variety of identity theft related crimes discussed below.

        103.     Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity--or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        104.     For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data Breaches can

be the starting point for these additional targeted attacks on the victim.

        105.     One such example of criminals piecing together bits and pieces of compromised

PII for profit is the development of “Fullz” packages. 22



22
  “Fullz” is fraudster speak for data that includes the information of the victim, including, but
not limited to, the name, address, credit card information, social security number, date of birth,
and more. As a rule of thumb, the more information you have on a victim, the more money that
can be made off of those credentials. Fullz are usually pricier than Delaware Life credit card
credentials, commanding up to $100 per record (or more) on the dark web. Fullz can be cashed
out (turning credentials into money) in various ways, including performing bank transactions
over the phone with the required authentication details in-hand. Even “dead Fullz,” which are


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       106.      With “Fullz” packages, cyber-criminals can cross-reference two sources of PII to

marry unregulated data available elsewhere to criminally stolen data with an astonishingly

complete scope and degree of accuracy in order to assemble complete dossiers on individuals.

       107.      The development of “Fullz” packages means here that the stolen PII from the Data

Breach can easily be used to link and identify it to Plaintiff’s and Class Members’ phone numbers,

email addresses, and other unregulated sources and identifiers. In other words, even if certain

information such as emails, phone numbers, or credit card numbers may not be included in the PII

that was exfiltrated in the Data Breach, criminals may still easily create a Fullz package and sell it

at a higher price to unscrupulous operators and criminals (such as illegal and scam telemarketers)

over and over.

       108.      The existence and prevalence of “Fullz” packages means that the PII stolen from

the data breach can easily be linked to the unregulated data (like driver's license numbers) of

Plaintiff and the other Class Members.

       109.      Thus, even if certain information (such as health insurance information) was not

stolen in the data breach, criminals can still easily create a comprehensive “Fullz” package.

       110.      Then, this comprehensive dossier can be sold—and then resold in perpetuity—to

crooked operators and other criminals (like illegal and scam telemarketers).

       M.        Loss Of Time To Mitigate Risk Of Identity Theft And Fraud




Fullz credentials associated with credit cards that are no longer valid, can still be used for
numerous purposes, including tax refund scams, ordering credit cards on behalf of the victim, or
opening a “mule account” (an account that will accept a fraudulent money transfer from a
compromised account) without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records
for Sale in Underground Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18,
2014), https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-
from-texas-life-insurance-](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-
underground-stolen-from-texas-life-insurance-finn/ (last visited on May 26, 2023).


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          111.        As a result of the recognized risk of identity theft, when a Data Breach occurs, and

an individual is notified by a company that their PII was compromised, as in this Data Breach, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.

          112.        Thus, due to the actual and imminent risk of identity theft, Plaintiff and Class

Members must take measures to protect herself, as PBI’s Notice Letter instructs:

          We encourage you to remain vigilant against incidents of identity theft and fraud by
          reviewing your account statements and monitoring your free credit reports for suspicious
          activity and to detect errors for the next twelve to twenty-four months and to report identity
          theft incidents to the institution. Please also review the enclosed Steps You Can Take to
          Help Protect Personal Information, which contains information on what you can do to
          safeguard against possible misuse of your information. You can also enroll in the credit
          monitoring services that we are offering. 23

          113.        Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions to remedy the harms they have or may experience as a result

of the Data Breach, such as researching and verifying the legitimacy of the Data Breach upon

receiving the Notice Letter and monitoring their financial accounts for any indication of fraudulent

activity, which may take years to detect.

          114.        These efforts are consistent with the U.S. Government Accountability Office that

released a report in 2007 regarding data breaches (“GAO Report”) in which it noted that victims

of identity theft will face “substantial costs and time to repair the damage to their good name and




23
     Notice Letter.


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credit record.”24

        115.        These efforts are also consistent with the steps that FTC recommends that data

breach victims take several steps to protect their personal and financial information after a data

breach, including: contacting one of the credit bureaus to place a fraud alert (consider an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing a credit freeze on

their credit, and correcting their credit reports. 25

        116.        And for those Class Members who experience actual identity theft and fraud, the

United States Government Accountability Office released a report in 2007 regarding data breaches

(“GAO Report”) in which it noted that victims of identity theft will face “substantial costs and

time to repair the damage to their good name and credit record.” 26

        N.          Diminution Value Of PII

        117.        PII is a valuable property right.27 Its value is axiomatic, considering the value of

Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that PII has

considerable market value.




24
   See United States Government Accountability Office, GAO-07-737, PII: Data Breaches Are
Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf.
25
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last
visited July 7, 2022).
26
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last visited Sep. 13, 2022) (“GAO Report”).
27
   See, e.g., Randall T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally
Identifiable Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11,
at *3-4 (2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly
reaching a level comparable to the value of traditional financial assets.”) (citations omitted).


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       118.      An active and robust legitimate marketplace for PII exists. In 2019, the data

brokering industry was worth roughly $200 billion. 28

       119.      In fact, the data marketplace is so sophisticated that consumers can actually sell

their non-public information directly to a data broker who in turn aggregates the information and

provides it to marketers or app developers. 29,30

       120.      Consumers who agree to provide their web browsing history to the Nielsen

Corporation can receive up to $50.00 a year. 31

       121.      Conversely sensitive PII can sell for as much as $363 per record on the dark web

according to the Infosec Institute.32

       122.      As a result of the Data Breach, Plaintiff’s and Class Members’ PII, which has an

inherent market value in both legitimate and dark markets, has been damaged and diminished by

its compromise and unauthorized release. However, this transfer of value occurred without any

consideration paid to Plaintiff or Class Members for their property, resulting in an economic loss.

Moreover, the PII is now readily available, and the rarity of the Data has been lost, thereby causing

additional loss of value.

       123.      Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information




28
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers
29
   https://datacoup.com/
30
   https://digi.me/what-is-digime/
31
   Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html
32
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
(last visited Sep. 13, 2022).


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compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change, e.g., names, dates of birth, and Social Security numbers.

         124.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         125.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         126.   At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, and of the foreseeable

consequences that would occur if Defendants’ data security systems were breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

         127.   Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on Defendants’ networks, amounting to, upon information and belief,

tens of thousands of individuals' detailed personal information, upon information and belief, and

thus, the significant number of individuals who would be harmed by the exposure of the

unencrypted data.

         128.   The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendants’ failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

         O.     Future Cost of Credit & Identity Theft Monitoring is Reasonable and Necessary

         129.   Given the type of targeted attack in this case and sophisticated criminal activity,

the type of PII involved, and the volume of data obtained in the Data Breach, there is a strong

probability that entire batches of stolen information have been placed, or will be placed, on the




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black market/dark web for sale and purchase by criminals intending to utilize the PII for identity

theft crimes –e.g., opening bank accounts in the victims’ names to make purchases or to launder

money; file false tax returns; take out loans or lines of credit; or file false unemployment claims.

        130.     Such fraud may go undetected until debt collection calls commence months, or

even years, later. An individual may not know that his or her Social Security Number was used to

file for unemployment benefits until law enforcement notifies the individual’s employer of the

suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

        131.     Consequently, Plaintiff and Class Members are at a present and continuous risk of

fraud and identity theft for many years into the future.

        132.     The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is a reasonable and necessary cost to monitor to protect Class

Members from the risk of identity theft that arose from Defendants’ Data Breach.

        P.       Loss Of The Benefit Of The Bargain

        133.     Furthermore, Defendants’ poor data security deprived Plaintiff and Class

Members of the benefit of their bargain. When agreeing to pay Delaware Life and/or its agents for

annuity products and/or other services, Plaintiff and other reasonable consumers understood and

expected that they were, in part, paying for the product and/or service and necessary data security

to protect the PII, when in fact, Defendants did not provide the expected data security.

Accordingly, Plaintiff and Class Members received annuity products and/or other services that

were of a lesser value than what they reasonably expected to receive under the bargains they struck

with Delaware Life.

        Q.       Plaintiff’s Experience




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        134.    Plaintiff Ruth McGarry is a current Delaware Life customer.

        135.    In order to obtain financial services at Delaware Life, Plaintiff was required to

provide her PII, directly or indirectly, to Defendants, including her name, date of birth, Social

Security number, and other sensitive information.

        136.    At the time of the Data Breach—May 29, 2023 through May 30, 2023—

Defendants retained Plaintiff’s PII in their systems.

        137.    Plaintiff McGarry is very careful about sharing her sensitive PII. Plaintiff stores

any documents containing her PII in a safe and secure location. She has never knowingly

transmitted unencrypted sensitive PII over the internet or any other unsecured source. Plaintiff

would not have entrusted her PII to Defendants had she known of Defendants’ lax data security

policies.

        138.    Plaintiff McGarry received the Notice Letter, by U.S. mail, from PBI, on behalf

of Defendants, dated September 6, 2023. According to the Notice Letter, Plaintiff’s PII was

improperly accessed and obtained by unauthorized third parties, including her name, date of birth,

Social Security number, and policy or contract number.

        139.    As a result of the Data Breach, and at the direction of the Notice Letter, Plaintiff

made reasonable efforts to mitigate the impact of the Data Breach, including but not limited to:

researching and verifying the legitimacy of the Data Breach upon receiving the Notice Letter and

monitoring her financial accounts for any indication of fraudulent activity, which may take years

to detect. Plaintiff has spent significant time on reasonable efforts to mitigate the impact of the

Data Breach₋₋valuable time Plaintiff otherwise would have spent on other activities, including but

not limited to work and/or recreation. This time has been lost forever and cannot be recaptured.

        140.    Plaintiff suffered actual injury from having her PII compromised as a result of the




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Data Breach including, but not limited to: (i) invasion of privacy; (ii) theft of her PII; (iii) lost or

diminished value of PII; (iv) lost time and opportunity costs associated with attempting to mitigate

the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; and (vii)

the continued and certainly increased risk to her PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) remains backed up in Defendants’

possession and is subject to further unauthorized disclosures so long as Defendants fail to

undertake appropriate and adequate measures to protect the PII.

        141.     Plaintiff additionally suffered actual injury in the form of her PII being

disseminated on the dark web, which, upon information and belief, was caused by the Data Breach.

        142.     The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which has

been compounded by the fact that Defendants have still not fully informed her of key details about

the Data Breach’s occurrence.

        143.     As a result of the Data Breach, Plaintiff anticipates spending considerable time

and money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

        144.     As a result of the Data Breach, Plaintiff is at a present risk and will continue to be

at increased risk of identity theft and fraud for years to come.

        145.     Plaintiff McGarry has a continuing interest in ensuring that her PII, which, upon

information and belief, remains backed up in Defendants’ possession, is protected and safeguarded

from future breaches.

                              V. CLASS ACTION ALLEGATIONS

        146.     Plaintiff brings this action individually and on behalf of all other persons similarly

situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and 23(b)(3).




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        147.     Specifically, Plaintiff proposes the following Class definitions, subject to

amendment as appropriate:

        Nationwide Class
        All individuals in the United States whose PII was impacted as a result of the Data
        Breach (the "Class").

        Illinois Subclass
        All individuals in the state of Illinois whose PII was impacted as a result of the Data
        Breach (the "Illinois Subclass").

        148.     Excluded from the Classes are Defendants and their parents or subsidiaries, any

entities in which it has a controlling interest, as well as their officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns. Also excluded is any Judge to whom

this case is assigned as well as their judicial staff and immediate family members.

        149.     Plaintiff reserves the right to modify or amend the definition of the proposed

Nationwide Class and/or Illinois Subclass, as well as add subclasses, before the Court determines

whether certification is appropriate.

        150.     The proposed Classes meet the criteria for certification under S.D. Codified Laws

§ 15-6-23.

        151.     Numerosity: The Class Members are so numerous that joinder of all members is

impracticable. Although the exact number of Class Members is currently unknown to Plaintiff and

exclusively in the possession of Defendants, according to the breach report submitted to the Office

of the Delaware Attorney General, approximately 1,100 Delaware residents, alone, were impacted

in the Data Breach.33 The Class is apparently identifiable within Defendants’ records, and

Defendants have already identified these individuals (as evidenced by PBI sending them Notice




33
  https://attorneygeneral.delaware.gov/fraud/cpu/securitybreachnotification/database/ last
accessed Nov. 6, 2023).


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Letters).

        152.     Commonality: There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

            a.   Whether Defendants engaged in the conduct alleged herein;

            b.   Whether Defendants’ conduct violated the FTCA and/or GBLA;

            c.   When Defendants learned of the Data Breach;

            d.   Whether Defendants’ response to the Data Breach was adequate;

            e.   Whether Defendants unlawfully lost or disclosed Plaintiff’s and Class Members’

                 PII;

            f.   Whether Defendants failed to implement and maintain reasonable security

                 procedures and practices appropriate to the nature and scope of the PII

                 compromised in the Data Breach;

            g.   Whether Defendants’ data security systems prior to and during the Data Breach

                 complied with applicable data security laws and regulations;

            h.   Whether Defendants’ data security systems prior to and during the Data Breach

                 were consistent with industry standards;

            i.   Whether Defendants owed duties to Class Members to safeguard their PII;

            j.   Whether Defendants breached their duty to Class Members to safeguard their PII;

            k.   Whether hackers obtained Class Members’ PII via the Data Breach;

            l.   Whether Defendants had legal duties to provide timely and accurate notice of the

                 Data Breach to Plaintiff and the Class Members;

            m. Whether Defendants breached their duties to provide timely and accurate notice




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                of the Data Breach to Plaintiff and Class Members;

           n.   Whether Defendants knew or should have known that their data security systems

                and monitoring processes were deficient;

           o.   What damages Plaintiff and Class Members suffered as a result of Defendants’

                misconduct;

           p.   Whether Defendants’ conduct was negligent;

           q.   Whether Defendants were unjustly enriched;

           r.   Whether Plaintiff and Class Members are entitled to actual and/or statutory

                damages;

           s.   Whether Plaintiff and Class Members are entitled to additional credit or identity

                monitoring and monetary relief; and

           t.   Whether Plaintiff and Class Members are entitled to equitable relief, including

                injunctive relief, restitution, disgorgement, and/or the establishment of a

                constructive trust.

       153.     Typicality: Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s PII, like that of every other Class Member, was compromised in the Data Breach.

Plaintiff’s claims are typical of those of the other Class Members because, inter alia, all Class

Members were injured through the common misconduct of Defendants. Plaintiff is advancing the

same claims and legal theories on behalf of herself and all other Class Members, and there are no

defenses that are unique to Plaintiff. The claims of Plaintiff and those of Class Members arise from

the same operative facts and are based on the same legal theories.

       154.     Adequacy of Representation: Plaintiff will fairly and adequately represent and

protect the interests of Class Members. Plaintiff’s counsel is competent and experienced in




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litigating class actions, including data privacy litigation of this kind.

        155.     Predominance: Defendants have engaged in a common course of conduct toward

Plaintiff and Class Members in that all of Plaintiff’s and Class Members’ data was stored on the

same computer systems and unlawfully accessed and exfiltrated in the same way. The common

issues arising from Defendants’ conduct affecting Class Members set out above predominate over

any individualized issues. Adjudication of these common issues in a single action has important

and desirable advantages of judicial economy.

        156.     Superiority: A Class action is superior to other available methods for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendants. In contrast, conducting this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

        157.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2). Defendants

have acted and/or refused to act on grounds generally applicable to the Class such that final

injunctive relief and/or corresponding declaratory relief is appropriate as to the Class as a whole.

        158.     Finally, all members of the proposed Class are readily ascertainable. Defendants

have access to the names and addresses and/or email addresses of Class Members affected by the




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Data Breach. Class Members have already been preliminarily identified and sent Notice Letters by

PBI.

                                            COUNT I
                                            Negligence
                               (On Behalf of Plaintiff and the Class)

        159.      Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        160.      Delaware Life requires its customers, including Plaintiff and Class Members, to

submit non-public PII to Defendants in the ordinary course of providing its annuity products and

other services.

        161.      Defendants gathered and stored the PII of Plaintiff and Class Members as part of

their businesses of soliciting their services to their customers, which solicitations and services

affect commerce.

        162.      Plaintiff and Class Members entrusted Defendants with their PII with the

understanding that Defendants would safeguard their information.

        163.      Defendants had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed.

        164.      By assuming the responsibility to collect and store this data, and in fact doing so,

and sharing it and using it for commercial gain, Defendants owed duties of care to use reasonable

means to secure and to prevent disclosure of the information, and to safeguard the information

from theft. Delaware Life’s duty included a responsibility to exercise due diligence in selecting

IT vendors and to audit, monitor, and ensure the integrity of its vendor’s systems and practices

and to give prompt notice to those affected in the case of a data breach.

        165.      Defendants had duties to employ reasonable security measures under Section 5




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of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data.

       166.     Delaware Life’s duty to use reasonable security measures also arose under the

GLBA, under which they were required to protect the security, confidentiality, and integrity of

customer information by developing a comprehensive written information security program that

contains reasonable administrative, technical, and physical safeguards.

       167.     Defendants owed duties of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that their systems and networks, and the personnel responsible for them, adequately protected the

PII.

       168.     Defendants’ duties of care to use reasonable security measures arose as a result

of the special relationship that existed between Defendants and Plaintiff and Class Members. That

special relationship arose because Plaintiff and the Class entrusted Defendants with their

confidential PII, a necessary part of being customers at Delaware Life.

       169.     Defendants’ duties to use reasonable care in protecting confidential data arose

not only as a result of the statutes and regulations described above, but also because Defendants

are bound by industry standards to protect confidential PII.

       170.     Defendants were subject to an “independent duty,” untethered to any contract

between Defendants and Plaintiff or the Class.

       171.     Defendants also had duties to exercise appropriate clearinghouse practices to

remove former customers’ PII it was no longer required to retain pursuant to regulations.

       172.     Moreover, Defendants had duties to promptly and adequately notify Plaintiff and




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the Class of the Data Breach.

        173.     Defendants had and continues to have duties to adequately disclose that the PII

of Plaintiff and the Class within Defendants’ possession might have been compromised, how it

was compromised, and precisely the types of data that were compromised and when. Such notice

was necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and repair any

identity theft and the fraudulent use of their PII by third parties.

        174.     Defendants breached their duties, pursuant to the FTC Act, GLBA, and other

applicable standards, and thus was negligent, by failing to use reasonable measures to protect

Class Members’ PII. The specific negligent acts and omissions committed by Defendants include,

but are not limited to, the following:

            a. Failing to adopt, implement, and maintain adequate security measures to safeguard

                Class Members’ PII;

            b. Failing to adequately monitor the security of their networks and systems;

            c. Failing to audit, monitor, or ensure the integrity of their vendor’s data security

                practices;

            d. Allowing unauthorized access to Class Members’ PII;

            e. Failing to detect in a timely manner that Class Members’ PII had been

                compromised;

            f. Failing to remove former customers’ PII it was no longer required to retain pursuant

                to regulations,

            g. Failing to timely and adequately notify Class Members about the Data Breach’s

                occurrence and scope, so that they could take appropriate steps to mitigate the

                potential for identity theft and other damages; and




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             h. Failing to secure their stand-alone personal computers, such as the reception desk

                computers, even after discovery of the data breach.

       175.      Defendants violated Section 5 of the FTC Act and GLBA by failing to use

reasonable measures to protect PII and not complying with applicable industry standards, as

described in detail herein. Defendants’ conduct was particularly unreasonable given the nature

and amount of PII they obtained and stored and the foreseeable consequences of the immense

damages that would result to Plaintiff and the Class.

       176.      Plaintiff and Class Members were within the class of persons the Federal Trade

Commission Act and GLBA were intended to protect and the type of harm that resulted from the

Data Breach was the type of harm these statues were intended to guard against.

       177.      Defendants’ violation of Section 5 of the FTC Act and GLBA constitutes

negligence.

       178.      The FTC has pursued enforcement actions against businesses, which, as a result

of their failure to employ reasonable data security measures and avoid unfair and deceptive

practices, caused the same harm as that suffered by Plaintiff and the Class.

       179.      A breach of security, unauthorized access, and resulting injury to Plaintiff and

the Class was reasonably foreseeable, particularly in light of Defendants’ inadequate security

practices.

       180.      It was foreseeable that Defendants’ failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was

reasonably foreseeable given the known high frequency of cyberattacks and data breaches in the

insurance and software industries.

       181.      Defendants have full knowledge of the sensitivity of the PII and the types of




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harm that Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

       182.     Plaintiff and the Class were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendants knew or should have known of the

inherent risks in collecting and storing the PII of Plaintiff and the Class, the critical importance

of providing adequate security of that PII, and the necessity for encrypting PII stored on

Defendants’ systems.

       183.     It was therefore foreseeable that the failure to adequately safeguard Class

Members’ PII would result in one or more types of injuries to Class Members.

       184.     Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendants’ possession.

       185.     Defendants were in a position to protect against the harm suffered by Plaintiff

and the Class as a result of the Data Breach.

       186.     Defendants’ duties extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence

of a specific duty to reasonably safeguard personal information.

       187.     Delaware Life has admitted that the PII of Plaintiff and the Class was wrongfully

lost and disclosed to unauthorized third persons as a result of the Data Breach.

       188.     But for Defendants’ wrongful and negligent breach of duties owed to Plaintiff

and the Class, the PII of Plaintiff and the Class would not have been compromised.

       189.     There is a close causal connection between Defendants’ failure to implement




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security measures to protect the PII of Plaintiff and the Class and the harm, or risk of imminent

harm, suffered by Plaintiff and the Class. The PII of Plaintiff and the Class was lost and accessed

as the proximate result of Defendants’ failure to exercise reasonable care in safeguarding such

PII by adopting, implementing, and maintaining appropriate security measures.

           190.   As a direct and proximate result of Defendants’ negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) invasion of privacy; (ii) theft

of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs associated

with attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual consequences

of the Data Breach; (vii) Plaintiff’s PII being disseminated on the dark web; (viii) statutory

damages; (ix) nominal damages; and (x) the continued and certainly increased risk to their PII,

which: (a) remains unencrypted and available for unauthorized third parties to access and abuse;

and (b) remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII.

           191.   As a direct and proximate result of Defendants’ negligence, Plaintiff and the

Class have suffered and will continue to suffer other forms of injury and/or harm, including, but

not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses.

           192.   Additionally, as a direct and proximate result of Defendants’ negligence,

Plaintiff and the Class have suffered and will suffer the continued risks of exposure of their PII,

which remain in Defendants’ possession and is subject to further unauthorized disclosures so long

as Defendants fail to undertake appropriate and adequate measures to protect the PII in their




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continued possession.

          193.   Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

          194.   Defendants’ negligent conduct is ongoing, in that it still holds the PII of Plaintiff

and Class Members in an unsafe and insecure manner.

          195.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to (i) strengthen their data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                            COUNT II
                                   Breach of Implied Contract
             (On Behalf of Plaintiff and the Class against Defendant Delaware Life)

          196.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if

fully set forth herein and brings this count against Defendant Delaware Life (“Defendant” for the

purposes of this count).

          197.   Plaintiff and Class Members were required to provide their PII to Defendant as

a condition of receiving annuity products and/or other services from Delaware Life.

          198.   Plaintiff and the Class entrusted their PII to Defendant. In so doing, Plaintiff and

the Class entered into implied contracts with Defendant by which Defendant agreed to safeguard

and protect such information, to keep such information secure and confidential, and to timely and

accurately notify Plaintiff and the Class if their data had been breached and compromised or

stolen.

          199.   In entering into such implied contracts, Plaintiff and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and




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regulations and were consistent with industry standards.

       200.     Implicit in the agreement between Plaintiff and Class Members and the

Defendant to provide PII, was the latter’s obligation to: (a) use such PII for business purposes

only, (b) take reasonable steps to safeguard that PII, (c) prevent unauthorized disclosures of the

PII, (d) provide Plaintiff and Class Members with prompt and sufficient notice of any and all

unauthorized access and/or theft of their PII, (e) reasonably safeguard and protect the PII of

Plaintiff and Class Members from unauthorized disclosure or uses, (f) retain the PII only under

conditions that kept such information secure and confidential.

       201.     The mutual understanding and intent of Plaintiff and Class Members on the one

hand, and Defendant, on the other, is demonstrated by their conduct and course of dealing.

       202.     Defendant solicited, offered, and invited Plaintiff and Class Members to provide

their PII as part of Defendant’s regular business practices. Plaintiff and Class Members accepted

Defendant’s offers and provided their PII to Defendant.

       203.     In accepting the PII of Plaintiff and Class Members, Defendant understood and

agreed that it was required to reasonably safeguard the PII from unauthorized access or

disclosure.

       204.     On information and belief, at all relevant times Defendant promulgated, adopted,

and implemented written privacy policies whereby it expressly promised Plaintiff and Class

Members that it would only disclose PII under certain circumstances, none of which relate to the

Data Breach.

       205.     On information and belief, Defendant further promised to comply with industry

standards and to make sure that Plaintiff’s and Class Members’ PII would remain protected.

       206.     Plaintiff and Class Members paid money or had money paid on their behalf and




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provided their PII to Delaware Life with the reasonable belief and expectation that Defendant

would use part of their earnings to obtain adequate data security. Defendant failed to do so.

       207.     Plaintiff and Class Members would not have entrusted their PII to Defendant in

the absence of the implied contract between them and Defendant to keep their information

reasonably secure.

       208.     Plaintiff and Class Members would not have entrusted their PII to Defendant in

the absence of their implied promise to monitor their computer systems and networks to ensure

that it adopted reasonable data security measures.

       209.     Plaintiff and Class Members fully and adequately performed their obligations

under the implied contracts with Defendant.

       210.     Defendant breached the implied contracts they made with Plaintiff and the Class

by failing to safeguard and protect their personal information, by failing to delete the information

of Plaintiff and the Class once the relationship ended, and by failing to provide accurate notice to

them that personal information was compromised as a result of the Data Breach.

       211.     As a direct and proximate result of Defendant’s breach of the implied contracts,

Plaintiff and Class Members sustained damages, as alleged herein, including the loss of the

benefit of the bargain.

       212.     Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       213.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen their data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class Members.




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                                         COUNT III
                                    Unjust Enrichment
                             (On Behalf of Plaintiff and the Class)

        214.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        215.     This Count is pleaded in the alternative to the contract claim above.

        216.     Plaintiff and Class Members conferred a monetary benefit on Defendants.

Specifically, they paid for annuity products and/or other services from Delaware Life and/or its

agents and in so doing also provided Defendants with their PII. In exchange, Plaintiff and Class

Members should have received from Delaware Life the annuity products and/or other services

that were the subject of the transaction and should have had their PII protected with adequate data

security.

        217.     Defendants knew that Plaintiff and Class Members conferred a benefit upon them

and have accepted and retained that benefit by accepting and retaining the PII entrusted to them.

Defendants profited from Plaintiff’s retained data and used Plaintiff’s and Class Members’ PII

for business purposes.

        218.     Defendants failed to secure Plaintiff’s and Class Members’ PII and, therefore,

did not fully compensate Plaintiff or Class Members for the value that their PII provided.

        219.     Defendants acquired the PII through inequitable record retention as they failed

to disclose the inadequate data security practices previously alleged.

        220.     If Plaintiff and Class Members had known that Defendants would not use

adequate data security practices, procedures, and protocols to adequately monitor, supervise, and

secure their PII, they would have entrusted their PII at Defendants or obtained annuity products

and/or other services at Delaware Life.




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           221.   Plaintiff and Class Members have no adequate remedy at law.

           222.   Under the circumstances, it would be unjust for Defendants to be permitted to

retain any of the benefits that Plaintiff and Class Members conferred upon it.

           223.   As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss of

benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (vii) Plaintiff’s PII being disseminated on the dark web; (viii)

statutory damages; (ix) nominal damages; and (x) the continued and certainly increased risk to

their PII, which: (a) remains unencrypted and available for unauthorized third parties to access and

abuse; and (b) remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII.

           224.   Plaintiff and Class Members are entitled to full refunds, restitution, and/or

damages from Defendants and/or an order proportionally disgorging all profits, benefits, and

other compensation obtained by Defendants from their wrongful conduct. This can be

accomplished by establishing a constructive trust from which the Plaintiff and Class Members

may seek restitution or compensation.

           225.   Plaintiff and Class Members may not have an adequate remedy at law against

Defendants, and accordingly, they plead this claim for unjust enrichment in addition to, or in the

alternative to, other claims pleaded herein.

                                          COUNT IV
                         Violation Of The Illinois Consumer Fraud Act



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                              815 Ill. Comp. Stat. §§ 505/1, et seq.
                         (On Behalf of Plaintiff and the Illinois Subclass)

       226.       Plaintiff re-alleges and incorporates by reference all preceding paragraphs, as if

fully set forth herein, and brings this claim on behalf of herself and the Illinois Subclass (the

“Class” for the purposes of this count) against all Defendants.

       227.       Plaintiff and the Class are “consumers” as that term is defined in 815 ILL. COMP.

STAT. § 505/1(e).

       228.       Plaintiff, the Class, and Defendants are “persons” as that term is defined in 815

ILL. COMP. STAT. § 505/1(c).

       229.       Defendants are engaged in “trade” or “commerce,” including the provision of

services, as those terms are defined under 815 ILL. COMP. STAT. § 505/1(f).

       230.       Defendants engage in the “sale” of “merchandise” (including services) as defined

by 815 ILL. COMP. STAT. § 505/1(b) and (d).

       231.       Defendants’ acts, practices, and omissions were done in the course of Defendants’

businesses of marketing, offering for sale, and selling their services in the State of Illinois.

       232.       Defendants engaged in deceptive and unfair acts and practices, misrepresentation,

and the concealment, suppression, and omission of material facts in connection with the sale and

advertisement of “merchandise” (as defined in the Illinois CFA) in violation of the Illinois CFA,

including, but not limited to, the following:

           a. failure to maintain adequate computer systems and data security practices to

                 safeguard current and former customers' PII;

              b. failure to disclose the material fact that its computer systems and data security

                 practices were inadequate to safeguard the personal information it was collecting

                 and maintaining from theft;



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           c. failure to audit, monitor, or ensure the integrity of their vendor’s data security

               practices;

           d. failure to disclose in a timely and accurate manner to Plaintiff and the Class

               Members the material fact of Defendants’ data breach;

           e. misrepresenting material facts to Plaintiff and the Class, in connection with the sale

               of goods and services, by representing that they would maintain adequate data

               privacy and security practices and procedures to safeguard Plaintiff’s and Class

               members’ PII from unauthorized disclosure, release, data breaches, and theft;

           f. misrepresenting material facts to the class, in connection with the sale of goods and

               services, by representing that Defendants have and would comply with the

               requirements of relevant federal and state laws pertaining to the privacy and

               security of Plaintiff’s and Class members’ PII, and

           f. failing to take proper action following the Data Breach to enact adequate privacy

               and security measures and protect Plaintiff’s and Class members’ PII from further

               unauthorized disclosure, release, data breaches, and theft.

       233.     In addition, Defendants’ failure to disclose that their computer systems were not

well protected and that Plaintiff’s and Class members’ sensitive information was vulnerable and

susceptible to intrusion and cyberattacks constitutes deceptive and/or unfair acts or practices

because Defendants knew such facts would (a) be unknown to and not easily discoverable by

Plaintiff and the Class; and (b) defeat Plaintiff’s and Class members’ ordinary, foreseeable and

reasonable expectations concerning the security of their PII on Defendants’ servers.

       234.     Defendants intended that Plaintiff and the Class rely on its deceptive and unfair

acts and practices, misrepresentations, and the concealment, suppression, and omission of material




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facts, in connection with Defendants’ offering of goods and services and storing Plaintiff’s and

Class members’ PII on its servers, in violation of the Illinois CFA.

           235.   Defendants also engaged in unfair acts and practices by failing to maintain the

privacy and security of class members’ personal information, in violation of duties imposed by

and public policies reflected in applicable federal and state laws, resulting in the data breach.

           236.   These unfair acts and practices violated duties imposed by laws including Section

5 of the Federal Trade Commission Act (15 U.S.C. § 45), GLBA, and similar state laws.

           237.   Defendants’ wrongful practices occurred in the course of trade or commerce.

           238.   Defendants’ wrongful practices were and are injurious to the public interest

because those practices were part of a generalized course of conduct on the part of Defendants that

applied to all Class members and were repeated continuously before and after Defendants obtained

PII from Plaintiff and Class members.

           239.   All Class members have been adversely affected by Defendants’ conduct and the

public was and is at risk as a result thereof.

           240.   As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

members have suffered harm, including, but not limited to: (i) lost or diminished value of their PII;

(ii) lost opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach, including but not limited to lost time; (iii) invasion of privacy; (iv) an increase in

spam calls, texts, and/or emails; and (v) the continued and certainly increased risk to their PII,

which: (a) remains unencrypted and available for unauthorized third parties to access and abuse;

and (b) remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII.




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       241.     Pursuant to 815 ILL. COMP. STAT. § 505/10a(a), Plaintiff seeks actual,

compensatory, and punitive damages (pursuant to 815 ILL. COMP. STAT. § 505/10a(c)),

injunctive relief, and court costs and attorneys’ fees as a result of Defendants’ violations of the

Illinois CFA.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendants and that the Court grants the following:

           A.   For an Order certifying this action as a class action and appointing Plaintiff and

                her counsel to represent the Class and Illinois Subclass, pursuant to Federal Rule

                of Civil Procedure 23;

           B.   For equitable relief enjoining Defendants from engaging in the wrongful conduct

                complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

                Class Members’ PII, and from refusing to issue prompt, complete and accurate

                disclosures to Plaintiff and Class Members;

           C.   For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

                and other equitable relief as is necessary to protect the interests of Plaintiff and

                Class Members, including but not limited to an order:

                   i.     prohibiting Defendants from engaging in the wrongful and unlawful

                          acts described herein;

                   ii.    requiring Defendants to protect, including through encryption, all data

                          collected through the course of their business in accordance with all

                          applicable regulations, industry standards, and federal, state or local

                          laws;




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         iii.    requiring Defendants to delete, destroy, and purge the personal

                 identifying information of Plaintiff and Class Members unless

                 Defendants can provide to the Court reasonable justification for the

                 retention and use of such information when weighed against the privacy

                 interests of Plaintiff and Class Members;

         iv.     requiring Defendants to implement and maintain a comprehensive

                 Information Security Program designed to protect the confidentiality

                 and integrity of the PII of Plaintiff and Class Members;

         v.      prohibiting Defendants from maintaining the PII of Plaintiff and Class

                 Members on a cloud-based database;

         vi.     requiring Defendants to engage independent third-party security

                 auditors/penetration testers as well as internal security personnel to

                 conduct testing, including simulated attacks, penetration tests, and

                 audits on Defendants’ systems on a periodic basis, and ordering

                 Defendants to promptly correct any problems or issues detected by such

                 third-party security auditors;

         vii.    requiring Defendants to engage independent third-party security

                 auditors and internal personnel to run automated security monitoring;

         viii.   requiring Defendants to audit, test, and train their security personnel

                 regarding any new or modified procedures; requiring Defendants to

                 segment data by, among other things, creating firewalls and access

                 controls so that if one area of Defendants’ network is compromised,

                 hackers cannot gain access to other portions of Defendants’ systems;




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         ix.     requiring Defendants to conduct regular database scanning and securing

                 checks;

         x.      requiring Defendants to establish an information security training

                 program that includes at least annual information security training for

                 all employees, with additional training to be provided as appropriate

                 based upon the employees’ respective responsibilities with handling

                 personal identifying information, as well as protecting the personal

                 identifying information of Plaintiff and Class Members;

         xi.     requiring Defendants to routinely and continually conduct internal

                 training and education, and on an annual basis to inform internal

                 security personnel how to identify and contain a breach when it occurs

                 and what to do in response to a breach;

         xii.    requiring Defendants to implement a system of tests to assess their

                 respective employees’ knowledge of the education programs discussed

                 in the preceding subparagraphs, as well as randomly and periodically

                 testing employees compliance with Defendants’ policies, programs, and

                 systems for protecting personal identifying information;

         xiii.   requiring Defendants to implement, maintain, regularly review, and

                 revise as necessary a threat management program designed to

                 appropriately monitor Defendants’ information networks for threats,

                 both internal and external, and assess whether monitoring tools are

                 appropriately configured, tested, and updated;




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              xiv.    requiring Defendants to meaningfully educate all Class Members about

                      the threats that they face as a result of the loss of their confidential

                      personal identifying information to third parties, as well as the steps

                      affected individuals must take to protect herself;

              xv.     requiring Defendants to implement logging and monitoring programs

                      sufficient to track traffic to and from Defendants’ servers; and

              xvi.    for a period of 10 years, appointing a qualified and independent third

                      party assessor to conduct a SOC 2 Type 2 attestation on an annual basis

                      to evaluate Defendants’ compliance with the terms of the Court’s final

                      judgment, to provide such report to the Court and to counsel for the

                      class, and to report any deficiencies with compliance of the Court’s final

                      judgment;

      D.   For an award of actual damages, compensatory damages, statutory damages, and

           nominal damages, in an amount to be determined, as allowable by law;

      E.   For an award of punitive damages, as allowable by law;

      F.   For an award of attorneys’ fees and costs, and any other expenses, including

           expert witness fees;

      G.   Pre- and post-judgment interest on any amounts awarded; and

      H.   Such other and further relief as this court may deem just and proper.

                            DEMAND FOR JURY TRIAL

  Plaintiff demands a trial by jury on all triable issues.



DATED: November 9, 2023                   Respectfully submitted,




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                             /s/ Randi Kassan .
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